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 5
                            UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,                 )
 8                                              )     No. CR-09-172-LRS-2
                        Plaintiff,              )
 9                                              )     ORDER ON PLEA AND ORDER
      v.                                        )     GRANTING MOTION TO MODIFY
10                                              )     CONDITIONS OF RELEASE
      WRIGHT CHRISTOPHER HALBERT,               )
11                                              )
                        Defendant.              )
12                                              )

13         At Defendant’s February 18, 2010, arraignment, Assistant U.S.

14   Attorney Tyler Tornabene appeared for the United States.                  Defendant

15   was present with counsel Frank Cikutovich.

16         IT IS ORDERED that Defendant, on his pleas of not guilty, is

17   bound over to the United States District Court for trial.

18         IT IS FURTHER ORDERED that Defendant’s unopposed Motion to

19   modify   conditions      of   release    (Ct.    Rec.    63)   is   GRANTED.      The

20   Defendant shall be allowed to reside at his home during the pendency

21   of this case.     All other conditions of release set forth in Order

22   filed December 23, 2009, shall remain in effect.

23         DATED February 18, 2010.

24
25                              S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
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     ORDER ON PLEA AND ORDER GRANTING MOTION
     TO MODIFY CONDITIONS OF RELEASE - 1
